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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

v.                               No. 4:14CR00188-25 JLH

CHRISTINA AKINS BREWSTER                                                       DEFENDANT

                                         ORDER

      The government’s oral motion to dismiss the Indictment as to Christina Akins Brewster is

GRANTED. The Indictment is dismissed as to Ms. Brewster.

      IT IS SO ORDERED this 3rd day of June, 2016.



                                                 __________________________________
                                                 J. LEON HOLMES
                                                 UNITED STATES DISTRICT JUDGE
